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3/14/2019                                                                       MyChart - Letters



                                                         I                  I                   I
                                     Name: Simon Tusha DOB: 11/3/1972 MRN: JH87269468 PCP: Amara Z Burney, MD



    Letter Details
     Johns Hopkins Plastic Surgery
     601 N Caroline St
     Jhoc 8th Fl
     Baltimore MD 21287-0006
     443-997-9466
     Fax: 410-367-2022                                            JOHNS HOPKINS
                                                                        ME DICI N E



    March 14, 2019

    Patient:       Simon Tusha
    Date of Birth: 11/3/1972



    To Whom It May Concern:

    Simon Tusha continues to be under the care of D r. Paul Manson at Johns Hopkins Hospital. He continues to be seen for
    post operative care and wound management. The patient has an open wound that continues to heal. He will be seen by Dr.
    Manson in the next month for his next operative visit to remove remaining positive margins once open wound heals.

    If you have any questions or concerns, please don't hesitate to call 443 997 9466.



    Sincerely,

    Monica Thompson, PA-C
    Physician Assistant for Dr. Paul Manson

    Plastic and Reconstructive Surgery
    Johns Hopkins Hospital
    601 North Caroline Street
    Baltimore, MD 21287
    RE: Tusha, Simon (JH87269468)                                                                         Page 1 of 1




    This letter was initially viewed by Simon Tusha at 3/14/201910:02 AM.




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